                     Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 1 of 93

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                  # Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Hornblower Holdings LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             f/k/a Hornblower & American Queen Group GP, LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                6 ___
                                              ___ 1 –- ___
                                                         2 ___
                                                             1 ___
                                                                1 ___
                                                                   6 ___
                                                                      0 ___
                                                                         3 ___
                                                                            5
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               Pier 3, The Embarcadero
                                              ______________________________________________             Pier 3 The Embarcadero
                                                                                                         _______________________________________________
                                              Number      Street                                         Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               San Francisco             CA 94111
                                              ______________________________________________             San Francisco              CA         94111
                                                                                                         _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              United States
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.hornblowercorp.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 2 of 93

Debtor        Hornblower Holdings LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          # Partnership (excluding LLP)
                                          # Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          # Railroad (as defined in 11 U.S.C. § 101(44))
                                          # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          # None of the above

                                          B. Check all that apply:

                                          # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 6 ___
                                                    1 ___
                                                       5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      # Chapter 7
                                          # Chapter 9
                                          # Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          # A plan is being filed with this petition.
                                                          # Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          # Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                       Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 3 of 93

Debtor         Hornblower Holdings LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        # No
      filed by or against the debtor
      within the last 8 years?           # Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            # No
      pending or being filed by a
      business partner or an
                                                       See Schedule 1
                                         # Yes. Debtor _____________________________________________              Affiliates
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              Southern District of Texas
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         # No
      possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  # It needs to be physically secured or protected from the weather.
                                                  # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  # Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  # No
                                                  # Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 4 of 93

Debtor        Hornblower Holdings LLC
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 13. Debtor’s estimation of                 Check one:
     available funds                        " Funds will be available for distribution to unsecured creditors.
                                            " After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                            # 1-49                             # 1,000-5,000                               # 25,001-50,000
 14. Estimated number of
                                            # 50-99                            # 5,001-10,000                              # 50,001-100,000
     creditors
                                            # 100-199                          # 10,001-25,000                             # More than 100,000
                                            # 200-999

                                            # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets1
                                            # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                            # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                            # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion

                                            # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities2
                                            # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                            # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                            # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                petition.
     debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                            I declare under penalty of perjury that the foregoing is true and correct.

                                                           02/21/2024
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            " /s/ Jonathan Hickman
                                                _____________________________________________                Jonathan Hickman
                                                                                                            _______________________________________________
                                               Signature of authorized representative of debtor             Printed name

                                                     Chief Restructuring Officer
                                               Title _________________________________________




  1 The Debtors' estimated assets are provided on a consolidated basis.
  2 The Debtors' estimated liabilities are provided on a consolidated basis.



 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                     Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 5 of 93

             Hornblower   Holdings LLC
             _______________________________________________________
Debtor       Name                                                                       Case number (if known)_____________________________________



 18. Signature of attorney
                                       " /s/ John F. Higgins
                                           _____________________________________________           Date       02/21/2024
                                                                                                              _________________
                                           Signature of attorney for debtor                                   MM    / DD / YYYY



                                          John F. Higgins
                                          _________________________________________________________________________________________________
                                          Printed name
                                          Porter Hedges LLP
                                          _________________________________________________________________________________________________
                                          Firm name
                                          1000        Main Street 36th Floor
                                          _________________________________________________________________________________________________
                                          Number     Street
                                          Houston
                                          ____________________________________________________            TX
                                                                                                         ____________  77002
                                                                                                                      ______________________________
                                          City                                                           State        ZIP Code

                                          (713) 226-6000
                                          ____________________________________                            jhiggins@porterhedges.com
                                                                                                         __________________________________________
                                          Contact phone                                                  Email address



                                          09597500
                                          ______________________________________________________ TX
                                                                                                 ____________
                                          Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
    Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 6 of 93



                                             Schedule I

                                         Affiliated Entities

         On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code, §§ 101 et seq. Contemporaneously with the filings of these petitions, such entities
filed a motion requesting joint administration of their chapter 11 cases.


             Debtor
     1.      Walks, LLC (Texas)
     2.      Hornblower Holdings LLC
     3.      Alcatraz Cruises, LLC
     4.      Alcatraz Fleet, LLC
     5.      Alcatraz Freedom, LLC
     6. .    Alcatraz Island Services, LLC
     7.      American Countess, LLC
     8.      American Duchess, LLC
     9.      American Queen Holdco, LLC
     10.     American Queen Holdings, LLC
     11.     American Queen Steamboat Operating Company, LLC
     12.     American Queen Sub, LLC
     13.     Anchor Mexico Holdings, LLC
     14.     Anchor Operating System LLC
     15.     ASG Advisors, LLC
     16.     Babarusa, LLC
     17.     Bay State, LLC
     18.     Booth Primary, LLC
     19.     Boston Harbor Cruises, LLC
     20.     Choi Advisory, LLC
     21.     City Cruises Café, LLC
     22.     City Cruises Limited
     23.     City Ferry Transportation Services, LLC
     24.     Colugo Liner, LLC
     25.     Cruising Excursions Limited
     26.     Cruising Excursions Transport Limited
     27.     EON Partners, LLC
     28.     Falls Mer, LLC
     29.     Ferryboat Santa Rosa, LLC
     30.     Gharian Holdings, LLC
     31.     Gourd Management, LLC
     32.     HBAQ Holdings, LLC
     33.     HBAQ Holdings, LP
     34.     HMS American Queen Steamboat Company, LLC
     35.     HMS Ferries, Inc.
     36.     HMS Ferries – Puerto Rico, LLC
     37.     HMS Global Maritime, Inc.
     38.     HMS Global Maritime, LLC
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 7 of 93




      Debtor
39.   HMS Vessel Holdings, LLC
40.   HMS-Alabama, Inc.
41.   HMS-Oklahoma, Inc.
42.   HMS-WestPac, Inc.
43.   HNY Ferry Fleet, LLC
44.   HNY Ferry, LLC
45.   HNY Ferry II, LLC
46.   Hornblower Cable Cars, Inc.
47.   Hornblower Canada Co.
48.   Hornblower Canada Entertainment Limited
49.   Hornblower Canadian Holdings, Inc.
50.   Hornblower Consulting, LLC
51.   Hornblower Cruise Holdings, LLC
52.   Hornblower Cruises and Events, Inc.
53.   Hornblower Cruises and Events, LLC
54.   Hornblower Cruises and Events Canada Limited
55.   Hornblower Development, LLC
56.   Hornblower Energy, LLC
57.   Hornblower Facility Operations, LLC
58.   Hornblower Ferry Holdings, LLC
59.   Hornblower Ferry Holdings II, LLC
60.   Hornblower Fleet, LLC
61.   Hornblower Freedom, LLC
62.   Hornblower Group Holdco, LLC
63.   Hornblower Group, Inc.
64.   Hornblower Group, LLC
65.   Hornblower Holdco, LLC
66.   Hornblower Holdings LP
67.   Hornblower Hospitality Services, LLC
68.   Hornblower India Holdings, LLC
69.   Hornblower Metro Ferry, LLC
70.   Hornblower Metro Fleet, LLC
71.   Hornblower Metro Holdings, LLC
72.   Hornblower Municipal Operations, LLC
73.   Hornblower New York, LLC
74.   Hornblower Shipyard, LLC
75.   Hornblower Sub, LLC
76.   Hornblower UK Holdings, Limited
77.   Hornblower Yachts, LLC
78.   JJ Audubon, LLC
79.   Journey Beyond Holdings, LLC
80.   Liberty Cruises, LLC
81.   Liberty Fleet, LLC
82.   Liberty Hospitality, LLC
83.   Liberty Landing Ferries, LLC
84.   Lyman Partners, LLC
85.   Madison Union, LLC
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 8 of 93




       Debtor
86.    Mission Bay Water Transit Fleet, LLC
87.    Mission Bay Water Transit, LLC
88.    Orane Partners, LLC
89.    San Francisco Pier 33, LLC
90.    SEA Operating Company, LLC
91.    Seaward Services, Inc.
92.    Statue Cruises, LLC
93.    Statue of Liberty IV, LLC
94.    Statue of Liberty V, LLC
95.    Statue of Liberty VI, LLC
96.    TCB Consulting, LLC
97.    Venture Ashore, LLC
98.    Victory Holdings I, LLC
99.    Victory Holdings II, LLC
100.   Victory Operating Company, LLC
101.   Walks, LLC (Delaware)
102.   Walks of New York Tours, LLC
103.   Yardarm Club (The) Limited
104.   York River Boat Cruises Limited
        Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 9 of 93




                           OMNIBUS WRITTEN CONSENT
                      OF THE RESPECTIVE GOVERNING BODIES
                         OF THE HORNBLOWER COMPANIES

                                     FEBRUARY 20, 2024

         Effective as of the date written above, the members of the board of directors, members of
the board of managers, individual managers, sole managers, sole members, and general partners
(each, a “Governing Body” and collectively, the “Governing Bodies,” which shall include, in any
instance where the authority of a Governing Body has been previously delegated to a special
committee thereof, such special committee, including the Special Committee of the Board of
Hornblower Holdings LLC the “Special Committee”), as applicable, of the corporations, limited
liability companies, limited partnerships, UK limited companies, Canadian unlimited liability
corporations, and Canadian limited liability corporations (each, a “Company” and collectively, the
“Companies”) hereby take the following actions and adopt the following resolutions by written
consent pursuant to each of such Company’s bylaws, limited partnership agreements, or limited
liability company agreements, as applicable, and the applicable laws of the jurisdiction in which
such Company is organized:

Chapter 11 Filing

       WHEREAS, the respective Governing Body of each Company has considered the
       financial and operational condition of such Company, including, without limitation, the
       historical performance of the Companies, the assets of the Companies, the current and long-
       term liabilities of the Companies, and presentations by the management and the financial
       and legal advisors of such Company regarding the liabilities and liquidity situation of the
       Companies, the strategic alternatives available to them and the effect of the foregoing on
       such Company’s business, and the relative risks and benefits of pursuing cases under the
       provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and
       Part IV of the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36, as amended
       (the “CCAA”).

       WHEREAS, the respective Governing Body of each Company has consulted with the
       management and the financial and legal advisors of such Company and fully considered
       each of the strategic alternatives available to such Company.

       WHEREAS, the Governing Bodies have reviewed and considered the Companies’
       collective need to employ individuals and/or firms as counsel, professionals, consultants
       or financial advisors to represent and assist each Company in carrying out its duties in
       connection with the cases under the Bankruptcy Code and the CCAA.

       WHEREAS, prior to filing the Petitions (as defined below), the respective Governing
       Bodies of certain of the Companies (each, an “Amending Party” and collectively,
       the “Amending Parties”) have each determined that it is advisable and in the best interests
       of the respective Company and such Company’s respective equity holders to amend the
       limited liability company agreements and limited partnership agreements, as applicable, of
       each of the Companies, in each case (i) as set forth on Exhibits B-F attached hereto
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 10 of 93




     (collectively, the “Organizational Document Amendments”), the terms of which hereby
     are incorporated by reference herein, and (ii) to be effective as of immediately prior to
     filing the Petitions (as defined below).

     WHEREAS, the respective capacities of the Amending Parties in respect of the Companies
     set forth in the immediately preceding recital is referred to herein as the Amending Party’s
     “Amending Capacity” with respect to each such Company.

     NOW, THEREFORE, BE IT,

     RESOLVED, that in the judgment of the respective Governing Body of each of the
     Companies listed on Exhibit A attached hereto (each, a “Debtor Company”), it is desirable
     and in the best interests of such Company, its creditors and other parties in interest, that
     such Debtor Company shall be, and hereby is, authorized to file or cause to be filed
     voluntary petitions for relief (the “Chapter 11 Cases”) under the provisions of chapter 11
     the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of
     Texas (the “Bankruptcy Court”).

     RESOLVED, that Kevin Rabbitt, Adam Peakes, Jonathan Hickman, Mitchell Randall and
     Mory DiMaurizio (each an “Authorized Officer” and together the “Authorized Officers”),
     acting alone or with one or more other Authorized Officers be, and hereby is, authorized,
     empowered and directed to execute and file on behalf of each Company all petitions,
     schedules, lists and other motions, papers, or documents, and to take any and all action that
     he deems necessary or proper to obtain such relief, including, without limitation, any action
     necessary to maintain the ordinary course operation of each Company’s business.

CCAA Resolutions

     RESOLVED, that in the judgment of the respective Governing Body of each Debtor
     Company organized under the laws of Canada (each, a “Canadian Company” and
     collectively, the “Canadian Companies”), it is desirable and in the best interests of such
     Canadian Company, its creditors and other parties in interest, that such Canadian Company
     shall be, and hereby is, authorized to file or cause to be filed an application for relief (the
     proceedings commenced by such application, the “Canadian Cases”) under the provisions
     of the CCAA, in the Ontario Superior Court of Justice (Commercial List) (the “Canadian
     Court”).

     RESOLVED, that each Governing Body, acting in its Official Capacity with respect to its
     applicable Canadian Company, hereby determines that it is desirable and in the best
     interests of such Canadian Company, its equity holders, its creditors as a whole, and other
     parties in interest, that (i) Hornblower Holdings, LLC. act as the foreign representative
     pursuant to section 45(1) of the CCAA (the “Foreign Representative”) on behalf of the
     Canadian Companies’ estates and (ii) such Canadian Company file or cause to be filed with
     the Bankruptcy Court or Canadian Court, as applicable, all motions, applications, and other
     papers or documents advisable, appropriate, convenient, desirable or necessary to
     effectuate such appointment.
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 11 of 93




      RESOLVED, that in connection with the filing of the Canadian Cases, each Governing
      Body, acting in its Official Capacity with respect to its applicable Canadian Company,
      hereby (i) authorizes, adopts and approves the form, terms, and provisions of, and is hereby
      authorized and empowered to file with the Canadian Court any motions, pleadings, and
      any other documents to be performed or agreed to by such Canadian Company that are
      reasonably necessary for prosecution of and in connection with the proceedings of the
      Canadian Cases (collectively, the “Canadian Ancillary Documents”), (ii) authorizes and
      directs the Foreign Representative, in the name and on behalf of such Canadian Company,
      to execute and deliver (with such changes, additions, and modifications thereto as the
      Foreign Representative executing the same shall approve, such approval to be conclusively
      evidenced by such Foreign Representative’s execution and delivery thereof) each of the
      Canadian Ancillary Documents to which such Canadian Company is a party and, upon the
      execution and delivery thereof by each of the other parties thereto, cause such Canadian
      Company to perform its obligations thereunder.

      RESOLVED, that each Governing Body, acting in its Official Capacity with respect to its
      applicable Canadian Company, hereby authorizes and directs each Authorized Officer, in
      the name and on behalf of such Canadian Company, to employ the law firm of Borden
      Ladner Gervais LLP (“BLG”) to represent such Canadian Company as Canadian Cases
      counsel and to represent and assist such Canadian Company in carrying out its duties under
      the CCAA, and to take any and all actions to advance such Canadian Company’s rights,
      including the preparation of pleadings and filings in the Canadian Cases; and in connection
      therewith, the Authorized Officers be, and each of them hereby is, authorized and directed,
      in the name and on behalf of such Canadian Company, to execute appropriate retention
      agreements, pay appropriate retainers prior to and immediately upon the filing of the
      Canadian Cases and to cause to be filed an appropriate application for authority to retain
      the services of BLG.

Restructuring Support Agreement and Backstop Commitment Agreement

      RESOLVED, that in the judgment of the respective Governing Body of each applicable
      Company, it is desirable and in the best interests of such Company, its creditors and other
      parties in interest, that such Company shall be, and hereby is, authorized to enter into that
      certain restructuring support agreement (the “Restructuring Support Agreement”) and that
      certain backstop commitment agreement (the “Backstop Commitment Agreement”), by
      and among certain of the Companies, certain consenting creditors, and certain consenting
      parties substantially in the form presented to the Governing Body on or in advance of the
      date hereof, with such changes, additions, and modifications thereto as an Authorized
      Officer executing the same shall approve, such approval to be conclusively evidenced by
      an Authorized Officer’s execution and delivery thereof.

      RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
      empowered to enter into, on behalf of each applicable Company, the Restructuring Support
      Agreement and the Backstop Commitment Agreement, and to take any and all actions
      necessary or advisable to advance such Company’s rights and obligations therein,
      including filing pleadings; and in connection therewith, each Authorized Officer, with
      power of delegation, is hereby authorized and directed to execute the Restructuring Support
       Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 12 of 93




       Agreement and the Backstop Commitment Agreement on behalf of each applicable
       Company and to take all necessary actions in furtherance of consummation of such
       agreements’ terms.

Retention of Professionals

       RESOLVED,           that     each     of    the     Authorized    Officers      be,    and
       hereby       is,     authorized      and      directed     to    employ        the     law
       firms of Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”) and Porter
       Hedges LLP (“Porter Hedges”) as general bankruptcy counsel to represent and assist each
       Debtor Company in carrying out its duties under the Bankruptcy Code, and to take any and
       all actions to advance such Debtor Company’s rights and obligations, including filing any
       pleadings; and in connection therewith, each Authorized Officer, with power of delegation,
       is hereby authorized and directed to execute appropriate retention agreements, pay
       appropriate retainers, and to cause to be filed an appropriate application for authority to
       retain the services of Paul, Weiss and Porter Hedges.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to employ Guggenheim Securities, LLC (“Guggenheim”) as investment banker
       and financial advisor to, among other things, assist each Debtor Company in evaluating its
       business and prospects, developing a long-term business plan, developing financial data
       for evaluation by its Governing Body, creditors, or other third parties, in each case, as
       requested by such Debtor Company, evaluating such Debtor Company’s capital structure,
       responding to issues related to such Debtor Company’s financial liquidity, and in any sale,
       reorganization, business combination, or similar disposition of such Debtor Company’s
       assets; and in connection therewith, each Authorized Officer, with power of delegation, is
       hereby authorized and directed to execute appropriate retention agreements, pay
       appropriate retainers, and to cause to be filed an appropriate application for authority to
       retain the services of Guggenheim.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to employ Alvarez & Marsal North America, LLC (“A&M”) as restructuring
       advisor to, among other things, assist each Debtor Company in evaluating its business and
       prospects, developing a long-term business plan, developing financial data for evaluation
       by its Governing Bodies, creditors, or other third parties, in each case as requested by such
       Debtor Company, evaluating such Debtor Company’s capital structure, responding to
       issues related to such Debtor Company’s financial liquidity, and in any sale, reorganization,
       business combination, or similar disposition of such Debtor Company’s assets; and in
       connection therewith, each Authorized Officer, with power of delegation, is hereby
       authorized and directed to execute appropriate retention agreements, pay appropriate
       retainers, and to cause to be filed an appropriate application for authority to retain the
       services of A&M.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to employ Omni Agent Solutions, Inc. (“Omni”) as notice and claims agent and
       administrative advisor to represent and assist each Debtor Company in carrying out its
       duties under the Bankruptcy Code, and to take any and all actions to advance such Debtor
       Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 13 of 93




      Company’s rights and obligations; and in connection therewith, each Authorized Officer,
      with power of delegation, is hereby authorized and directed to execute appropriate retention
      agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
      authority to retain the services of Omni.

      RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
      directed to employ any other professionals to assist each Debtor Company in carrying out
      its duties under the Bankruptcy Code and the CCAA; and in connection therewith, each
      Authorized Officer, with power of delegation, is hereby authorized and directed to execute
      appropriate retention agreements, pay appropriate retainers and fees, and to cause to be
      filed an appropriate application for authority to retain the services of any other
      professionals as necessary.

      RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
      delegation, authorized, empowered and directed to execute and file all petitions, schedules,
      motions, lists, applications, pleadings, and other papers and, in connection therewith, to
      employ and retain all assistance by legal counsel, accountants, financial advisors, and other
      professionals and to take and perform any and all further acts and deeds that such
      Authorized Officer deems necessary, proper, or desirable in connection with each Debtor
      Company’s Chapter 11 Case, with a view to the successful prosecution of each such case.

Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

      RESOLVED, that in the judgment of the respective Governing Body of each Debtor
      Company, it is desirable and in the best interests of such Debtor Company, its creditors and
      other parties in interest, that such Debtor Company shall be, and hereby is, authorized to
      obtain senior and junior secured superpriority postpetition financing (the “DIP
      Financing”), subject to the approval of the Bankruptcy Court, on the terms and conditions
      of (i) that certain Senior Secured Superpriority Debtor-In-Possession Credit Agreement,
      dated as of the date hereof (the “Senior DIP Credit Agreement”), by and among
      Hornblower Sub, LLC, a Delaware limited liability company, as debtor and debtor-in-
      possession (“Hornblower Borrower”), American Queen Sub, LLC, a Delaware limited
      liability company, as debtor and debtor-in-possession (“AQ Borrower” and, together with
      Hornblower Borrower, each a “Borrower” and, collectively, the “Borrowers”), Hornblower
      Holdco, LLC, a Delaware limited liability company, as debtor and debtor-in-possession
      (“Hornblower Parent”), American Queen Holdco, LLC, a Delaware limited liability
      company, as debtor and debtor-in-possession (“AQ Parent” and, together with Hornblower
      Parent, each a “Parent” and, collectively, the “Parents”), Journey Beyond Holdings, LLC,
      Delaware limited liability company (“JB TopCo”), as debtor and debtor-in-possession, the
      other Debtor Companies, each as debtor and debtor-in-possession, the financial institutions
      from time to time party thereto as lenders (the “Senior DIP Lenders”), GLAS TRUST
      COMPANY LLC, as administrative agent and collateral agent (in such capacities, the
      “Senior DIP Agent”), and the other agents and entities from time to time party thereto
      substantially in the form presented to each Governing Body on or in advance of the date
      hereof, with such changes, additions, and modifications thereto as an Authorized Officer
      executing the same shall approve, such approval to be conclusively evidenced by an
      Authorized Officer’s execution and delivery thereof and (ii) that certain Junior Secured
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 14 of 93




Superpriority Debtor-In-Possession Credit Agreement, dated as of the date hereof (together
with the Senior DIP Credit Agreement, the “DIP Credit Agreements”), by and among the
Borrowers, each as debtor and debtor-in possession, the Parents, each as debtor and debtor-
in-possession, JB TopCo, as debtor and debtor-in-possession, the other Debtor Companies,
each as debtor and debtor-in-possession, the financial institution from time to time party
thereto as lenders (together with the Senior DIP Lenders, the “DIP Lenders”), GLAS
TRUST COMPANY LLC, as administrative agent and collateral agent (in such capacities,
the “Junior DIP Agent”, together with Senior DIP Agent, the “DIP Agents”), and the other
agents and entities from time to time party thereto substantially in the form presented to
each Governing Body on or in advance of the date hereof, with such changes, additions,
and modifications thereto as an Authorized Officer executing the same shall approve, such
approval to be conclusively evidenced by an Authorized Officer’s execution and delivery
thereof.

RESOLVED, that each Debtor Company will obtain benefits from the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition secured agents and lenders
(collectively, the “Secured Lenders”) party to:

       (a) that certain First Lien Credit Agreement, dated as of April 27, 2018 (as
       amended, supplemented, amended and restated or otherwise modified from time to
       time, the “First Lien Credit Agreement”), by and among the Borrowers, the Parents,
       JB TopCo, certain of the Companies, as subsidiary loan parties, GLAS TRUST
       COMPANY LLC, as administrative agent and collateral agent, and the lenders
       party thereto from time to time; and

       (b) that certain Credit Agreement, dated as of May 13, 2020 (as amended,
       supplemented, amended and restated or otherwise modified from time to time, the
       “RCF Credit Agreement”), by the Borrowers, the Parents, certain of the Companies,
       as subsidiary loan parties, UBS AG, Stamford Branch, as administrative agent and
       collateral agent, and the lenders party thereto from time to time.

RESOLVED, that, in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, each Debtor Company will provide
certain adequate protection to the Secured Lenders (the “Adequate Protection
Obligations”), as documented in a proposed interim DIP order (the “Interim DIP Order”)
substantially in the form presented to the Governing Body on or in advance of the date
hereof, with such changes, additions, and modifications thereto as an Authorized Officer
executing or authorizing the same shall approve, such approval to be conclusively
evidenced by the submission thereof for approval to the Bankruptcy Court.

RESOLVED, that the form, terms, and provisions of the DIP Credit Agreements and the
Interim DIP Order to which each Debtor Company is or will be subject, and the actions
and transactions contemplated thereby be, and hereby are authorized, adopted, and
approved, and each Authorized Officer be, and hereby is, authorized and empowered, in
the name of and on behalf of each Debtor Company, to take such actions and negotiate or
cause to be prepared and negotiated and to execute, deliver, perform, and cause the
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 15 of 93




performance of, the DIP Credit Agreements (including all related agreements, instruments,
certificates, joinders, consents, financing statements and other documents as he or she
deems necessary or appropriate to carry out the intent and accomplish the purposes of the
Loan Documents (as defined in the DIP Credit Agreements)), the Interim DIP Order, and
such other agreements, certificates, instruments, receipts, petitions, motions, or other
papers or documents to which such Debtor Company is or will be a party, including, but
not limited to any global intercompany note, mortgage, deeds of trust, preferred ship
mortgage, assignment of freights and hires, assignment of insurances, debenture, security
and pledge agreement or guaranty agreement (collectively with the DIP Credit
Agreements, the Interim DIP Order and the Canadian DIP Recognition Order (as defined
in the DIP Credit Agreements), the “DIP Documents”), incur and pay or cause to be paid
all fees and expenses and engage such persons, in each case, in the form or substantially in
the form thereof presented to the respective Governing Body of each Debtor Company on
or in advance of the date hereof, with such changes, additions, and modifications thereto
as an Authorized Officer executing the same shall approve, such approval to be
conclusively evidenced by an Authorized Officer’s execution and delivery thereof.

RESOLVED, that each Debtor Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to negotiate and incur the Adequate
Protection Obligations and to undertake any and all related transactions on substantially
the terms as contemplated under the Interim DIP Order (collectively, the “Adequate
Protection Transactions”) and any related documents (collectively, the “Adequate
Protection Documents”).

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed, and empowered in the name of, and on behalf of, each Debtor Company, as debtor
and debtor in possession, to take such actions as in his or her reasonable discretion is
determined to be necessary, desirable, or appropriate to effectuate the DIP Financing and
the Adequate Protection Transactions, including delivery of: (a) the DIP Documents, the
Adequate Protection Documents and such agreements, certificates, instruments, guaranties,
notices, and any and all other documents, including, without limitation, any amendments
to any DIP Documents or Adequate Protection Documents; (b) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested by the
DIP Agents or the Secured Lenders; and (c) such forms of deposit, account control
agreements, officer’s certificates, and compliance certificates as may be required by the
DIP Documents or any other Adequate Protection Document.

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized, directed,
and empowered in the name of, and on behalf of, each Debtor Company to file or to
authorize the DIP Agents or the applicable Secured Lenders (or any of their
representatives) to file any Uniform Commercial Code (the “UCC”) or Personal Property
Security Act (“PPSA”) financing statements, financing change statements, any other
equivalent filings, any intellectual property filings and recordation and any necessary
assignments for security or other documents in the name of each Debtor Company that the
DIP Agents or the applicable Secured Lenders deems necessary or appropriate to perfect
or evidence any lien or security interest granted under the Interim DIP Order, the Canadian
DIP Recognition Order and the other DIP Documents, including any such UCC or PPSA
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 16 of 93




      financing statement and financing change statements containing a generic description of
      collateral, such as “all assets,” “all property now or hereafter acquired” and other similar
      descriptions of like import, and to execute and deliver, and to record or authorize the
      recording of, such preferred ship mortgages, mortgages and deeds of trust in respect of real
      property of each Debtor Company and such other filings in respect of intellectual and other
      property of each Debtor Company, in each case as the DIP Agents or the applicable Secured
      Lenders may reasonably request to perfect or evidence the security interests of the DIP
      Agents or the applicable Secured Lenders under the Interim DIP Order, the Canadian DIP
      Recognition Order and the other DIP Documents.

      RESOLVED, that each of the Authorized Officers be, and hereby is, authorized, directed,
      and empowered in the name of, and on behalf of, each Debtor Company to take all such
      further actions, including, without limitation, to pay or approve the payment of appropriate
      fees and expenses payable in connection with the DIP Financing or Adequate Protection
      Transactions and appropriate fees and expenses incurred by or on behalf of such Debtor
      Company in connection with the foregoing resolutions, in accordance with the terms of the
      DIP Documents or Adequate Protection Documents, which shall in his or her sole judgment
      be necessary, proper, or advisable to perform any of such Debtor Company’s obligations
      under or in connection with the DIP Documents or the Adequate Protection Documents
      and the transactions contemplated therein and to carry out fully the intent of the foregoing
      resolutions.

Organizational Document Amendments

      RESOLVED, that the Amending Parties, each acting in its Amending Capacity with
      respect to its applicable Company, hereby approve the respective Organizational
      Document Amendments, such that each such Organizational Document Amendment shall
      be effective immediately prior to the filing of the first Petition to be filed by any of the
      Companies;

      RESOLVED, that the Amending Parties, each acting in its Amending Capacity with
      respect to its applicable Company, hereby authorize and direct the Authorized Officers,
      and any one of them, to prepare, execute and deliver, in the name and on behalf of such
      Company, such agreements, documents or other instruments as any Authorized Officer
      may deem necessary, proper, or advisable to evidence the Organizational Document
      Amendments approved by the immediately preceding resolution; provided, that nothing in
      this resolution is intended to imply that any such agreement, document or instrument is so
      needed, the intent of this resolution being that the immediately preceding resolution and
      Exhibits B-F attached hereto are, in and of themselves, sufficient to effect the
      Organizational Document Amendments approved thereby and the authority granted to the
      Authorized Officers in this resolution is merely supplemental thereto should any such
      Authorized Officer deem it necessary, proper, or advisable to otherwise or additionally
      document such Organizational Document Amendments;
       Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 17 of 93




General

       RESOLVED, that, in addition to the specific authorizations heretofore conferred upon
       each Authorized Officer, each Authorized Officer (and his or her designees and delegates)
       be, and hereby is, authorized and empowered, in the name of and on behalf of each
       Company, to take or cause to be taken any and all such other and further action, and to
       execute, acknowledge, deliver and file any and all such agreements, certificates,
       instruments and other documents and to pay all expenses, including but not limited to filing
       fees, in each case as in such Authorized Officer’s (or his or her designees’ or delegates’)
       judgment, shall be necessary, advisable or desirable in order to fully carry out the intent
       and accomplish the purposes of the resolutions adopted herein.

       RESOLVED, that the respective Governing Body of each Company has received
       sufficient notice of the actions and transactions relating to the matters contemplated by the
       foregoing resolutions, as may be required by the organizational documents of each
       Company, or hereby waives any right to have received such notice.

       RESOLVED, that all acts, actions and transactions relating to the matters contemplated
       by the foregoing resolutions done in the name of and on behalf of each Company, which
       acts would have been approved by the foregoing resolutions except that such acts were
       taken before the adoption of these resolutions, are hereby in all respects approved and
       ratified as the true acts and deeds of each Company with the same force and effect as if
       each such act, transaction, agreement or certificate has been specifically authorized in
       advance by resolution of the respective Governing Body of each Company.

       RESOLVED, that each Authorized Officer (and his or her designees and delegates) be,
       and hereby is, authorized and empowered to take all actions, or to not take any action in
       the name of each Company, with respect to the transactions contemplated by these
       resolutions hereunder, as such Authorized Officer shall deem necessary or desirable in such
       Authorized Officer’s reasonable business judgment, as may be necessary or convenient to
       effectuate the purposes of the transactions contemplated herein.

        This Consent may be executed in as many counterparts as may be required; all counterparts
shall collectively constitute one and the same Consent.

                                    [Signature Pages Follow]
       Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 18 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                            __________________________________________
                                            Brian Cassidy*

                                            __________________________________________
                                            Michael Eggers

                                            __________________________________________
                                            Carol Flaton

                                            __________________________________________
                                            Ceci Kurzman

                                            __________________________________________
                                            Terry Macrae

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                                            Mark Patricof

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                                            Bill Poston

                                            __________________________________________
                                            Kevin Rabbitt

                                            __________________________________________
                                            John Waggoner

                                            __________________________________________
                                            Bradford Williams*


                                            BEING ALL OF THE MEMBERS OF THE
                                            BOARD OF DIRECTORS OF
                                            HORNBLOWER HOLDINGS LLC




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Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 19 of 93
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 20 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                __________________________________________
                                Brian Cassidy

                                __________________________________________
                                Michael Eggers

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                                Carol Flaton

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                                Ceci Kurzman

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                                Terry Macrae

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                                Mark Patricof

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                                Bill Poston

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                                Kevin Rabbitt

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                                John Waggoner

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                                Bradford Williams


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF
                                HORNBLOWER HOLDINGS LLC
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 21 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                __________________________________________
                                Brian Cassidy

                                __________________________________________
                                Michael Eggers

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                                Carol Flaton

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                                Ceci Kurzman

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                                Kevin Rabbitt

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                                John Waggoner

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                                Bradford Williams


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF
                                HORNBLOWER HOLDINGS LLC
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 22 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                __________________________________________
                                Brian Cassidy

                                __________________________________________
                                Michael Eggers

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                                Carol Flaton

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                                Ceci Kurzman

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                                Kevin Rabbitt

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                                John Waggoner

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                                Bradford Williams


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF
                                HORNBLOWER HOLDINGS LLC
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 23 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                __________________________________________
                                Brian Cassidy

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                                Michael Eggers

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                                Carol Flaton

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                                Kevin Rabbitt

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                                John Waggoner

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                                Bradford Williams


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF
                                HORNBLOWER HOLDINGS LLC
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 24 of 93
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 25 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                __________________________________________
                                Brian Cassidy

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                                Michael Eggers

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                                Carol Flaton

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                                Ceci Kurzman

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                                John Waggoner

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                                Bradford Williams


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF
                                HORNBLOWER HOLDINGS LLC
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 26 of 93
     Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 27 of 93




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Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 28 of 93
      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 29 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                The John Waggoner Family Trust u/t/d August 27, 2015


                                __________________________________________
                                Name: John Waggoner
                                Title: Trustee


                                Bon Voyage Holdings, LLC


                                __________________________________________
                                Name: Terry MacRae
                                Title: Manager




                                BEING ALL OF THE ROLLOVER PARTNERS OF
                                HORNBLOWER HOLDINGS LP
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 30 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 31 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 32 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 33 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 34 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 35 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 36 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 37 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 38 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 39 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 40 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 41 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 42 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 43 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 44 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 45 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 46 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 47 of 93
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 48 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.
                                HORNBLOWER CRUISES AND EVENTS, INC.


                                __________________________________________
                                Name: Jonathan Hickman
                                Title: Chief Restructuring Officer


                                BEING THE SOLE MEMBER OR
                                SHAREHOLDER OF EACH COMPANY
                                LISTED ON ATTACHMENT 9
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 49 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director


                                BEING THE SOLE DIRECTOR OF EACH
                                COMPANY LISTED ON ATTACHMENT 10
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 50 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Mory DiMaurizio
                                Title: Director

                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF HORNBLOWER
                                CANADA ENTERTAINMENT, LTD.
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 51 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Mory DiMaurizio
                                Title: Director

                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF HORNBLOWER
                                CANADA ENTERTAINMENT, LTD.
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 52 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Mory DiMaurizio
                                Title: Director

                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF HORNBLOWER
                                CANADA ENTERTAINMENT, LTD.
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 53 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF EACH
                                COMPANY LISTED ON ATTACHMENT 11
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 54 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF EACH
                                COMPANY LISTED ON ATTACHMENT 11
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 55 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director

                                __________________________________________
                                Name: Adam Peakes
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF JOURNEY
                                BEYOND HOLDINGS, LTD.
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 56 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director

                                __________________________________________
                                Name: Adam Peakes
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF JOURNEY
                                BEYOND HOLDINGS, LTD.
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 57 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Director

                                __________________________________________
                                Name: Mitchell Randall
                                Title: Director

                                __________________________________________
                                Name: Adam Peakes
                                Title: Director


                                BEING ALL OF THE MEMBERS OF THE
                                BOARD OF DIRECTORS OF JOURNEY
                                BEYOND HOLDINGS, LTD.
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 58 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 59 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 60 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 61 of 93
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 62 of 93




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.
                                JOURNEY BEYOND INTERMEDIATE
                                HOLDINGS, LLC
                                BY JOURNEY BEYOND HOLDINGS, LTD.,
                                SOLE MEMBER


                                __________________________________________
                                Name: Kevin Rabbitt
                                Title: Chief Executive Officer
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 63 of 93
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 64 of 93
 Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 65 of 93




                               Attachment 1

                     Sole Member: HBAQ Holdings, LP


COMPANY                                               JURISDICTION

Hornblower Group HoldCo, LLC                                Delaware

American Queen HoldCo, LLC                                  Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 66 of 93




                                  +VVFGLOIPV (

                    Sole Member: American Queen Holdings, LLC


COMPANY                                                         JURISDICTION

Victory Holdings I, LLC                                              Delaware

Victory Holdings II, LLC                                             Delaware

American Queen Steamboat Operating Company, LLC                      Delaware

HMS American Queen Steamboat Company, LLC                            Delaware

EON Partners, LLC                                                    Delaware

SEA Operating Company, LLC                                           Delaware
 Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 67 of 93




                                 Attachment 3

                         Sole Member: EON Partners, LLC


COMPANY                                                   JURISDICTION

American Duchess, LLC                                          Delaware

American Countess, LLC                                         Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 68 of 93




                                Attachment 4

                     Sole Member: Hornblower Group, Inc.

COMPANY                                                    JURISDICTION
Walks, LLC (Delaware)                                            Delaware
Hornblower Energy, LLC                                          California
San Francisco Pier 33, LLC                                      California
Hornblower Yachts LLC                                           California
Hornblower Fleet, LLC                                           California
Alcatraz Fleet, LLC                                             California
Ferryboat Santa Rosa, LLC                                       California
Mission Bay Water Transit Fleet, LLC                            California
Mission Bay Water Transit, LLC                                  California
Hornblower Development, LLC                                     California
Hornblower Hospitality Services, LLC                            California
Alcatraz Island Services, LLC                                   California
Liberty Hospitality, LLC                                         Delaware
Alcatraz Cruises, LLC                                           California
Hornblower Municipal Operations, LLC                             Delaware
HMS Global Maritime, LLC                                         Delaware
Hornblower Metro Holdings, LLC                                   Delaware
Hornblower Cruise Holdings, LLC                                  Delaware
Hornblower Facility Operations, LLC                              Delaware
Hornblower Ferry Holdings, LLC                                   Delaware
Liberty Cruises, LLC                                            New York
Hornblower Freedom, LLC                                          Delaware
TCB Consulting, LLC                                              Delaware
Venture Ashore, LLC                                              Delaware
Hornblower Shipyard, LLC                                         Delaware
Hornblower India Holdings, LLC                                   Delaware
Anchor Operating System LLC                                      Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 69 of 93




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                     Sole Member: HMS Global Maritime, LLC


COMPANY                                                      JURISDICTION

Hornblower Consulting, LLC                                         Delaware

Hornblower Wind, LLC                                               Delaware

City Ferry Transportation Services, LLC                          Puerto Rico

HMS Vessel Holdings, LLC                                           Delaware

Hornblower Ferry Holdings II, LLC                                  Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 70 of 93




                               Attachment 6

                Sole Member: Hornblower Metro Holdings, LLC


COMPANY                                                       JURISDICTION

Hornblower Metro Fleet, LLC                                        Delaware

Hornblower Metro Ferry, LLC                                        Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 71 of 93




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                 Sole Member: Hornblower Ferry Holdings, LLC


COMPANY                                                        JURISDICTION

HNY Ferry, LLC                                                      Delaware

HNY Ferry Fleet, LLC                                                Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 72 of 93




                                    Attachment 8

                           Sole Member: Liberty Cruises, LLC


COMPANY                                                        JURISDICTION

Liberty Landing Ferries, LLC                                        Delaware

Liberty Fleet, LLC                                                  Delaware

Statue Cruises, LLC                                                 Delaware

Statue of Liberty IV, LLC                                           Delaware

Statue of Liberty V, LLC                                            Delaware

Statue of Liberty VI, LLC                                           Delaware

City Cruises Café, LLC                                              Delaware

JJ Audubon, LLC                                                     Delaware

Bay State, LLC                                                      California

Alcatraz Freedom, LLC                                               California
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 73 of 93




                                 Attachment 9

         Sole Member or Shareholder: Hornblower Cruises and Events, Inc.


COMPANY                                                         JURISDICTION

Boston Harbor Cruises LLC                                                  Delaware

Hornblower Cruises and Events, LLC                                         Delaware

Hornblower Cruises and Events Canada Ltd.                         Ontario, Canada
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 74 of 93




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                              Sole Director: Kevin Rabbitt


COMPANY                                                        JURISDICTION

HMS Ferries, Inc.                                                      Delaware

HMS Global Maritime, Inc.                                              Delaware

HMS-Alabama, Inc.                                                      Delaware

HMS-Oklahoma, Inc.                                                     Delaware

Hornblower Cable Cars, Inc.                                           California

Hornblower Canadian Holdings, Inc.                                     Delaware

Hornblower Cruises and Events, Inc.                                    Delaware

Hornblower Canada Co.                                        Nova Scotia, Canada
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 75 of 93




                                    Attachment 11

                       Directors: Kevin Rabbitt, Mitchell Randall


COMPANY                                                             JURISDICTION

City Cruises Limited                                                United Kingdom

Cruising Excursions Limited                                         United Kingdom

Cruising Excursions Transport Limited                               United Kingdom

HMS-WestPac, Inc.                                                         Delaware

Hornblower Group, Inc.                                                   California

Hornblower UK Holdings Limited                                      United Kingdom

Seaward Services, Inc.                                                      Florida

Yardarm Club (The) Limited                                          United Kingdom

York River Boat Cruises Limited                                     United Kingdom
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 76 of 93




                                  Attachment 1(

                        Sole Member: Hornblower Group, LLC


COMPANY                                                      JURISDICTION

Falls Mer, LLC                                                    Delaware

Madison Union, LLC                                                Delaware

Babarusa, LLC                                                     Delaware

Lyman Partners, LLC                                               Delaware

Booth Primary, LLC                                                Delaware

Orane Partners, LLC                                               Delaware

Colugo Liner, LLC                                                 Delaware

Gharian Holdings, LLC                                             Delaware

Gourd Management, LLC                                             Delaware

ASG Advisors, LLC                                                 Delaware

Choi Advisory, LLC                                                Delaware
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 77 of 93




                               Attachment 13

                     Sole Member: Walks, LLC (Delaware)


COMPANY                                                   JURISDICTION

Walks, LLC                                                        Texas
Walks of New York Tours,
LLC                                                            New York
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 78 of 93




                              Exhibit A
                          Debtor Companies

      COMPANY
 1.   Alcatraz Cruises, LLC
 2.   Alcatraz Fleet, LLC
 3.   Alcatraz Freedom, LLC
 4. . Alcatraz Island Services, LLC
 5.   American Countess, LLC
 6.   American Duchess, LLC
 7.   American Queen Holdco, LLC
 8.   American Queen Holdings, LLC
 9.   American Queen Steamboat Operating Company, LLC
 10. American Queen Sub, LLC
 11. Anchor Mexico Holdings, LLC
 12. Anchor Operating System LLC
 13. ASG Advisors, LLC
 14. Babarusa, LLC
 15. Bay State, LLC
 16. Booth Primary, LLC
 17. Boston Harbor Cruises, LLC
 18. Choi Advisory, LLC
 19. City Cruises Café, LLC
 20. City Cruises Limited
 21. City Ferry Transportation Services, LLC
 22. Colugo Liner, LLC
 23. Cruising Excursions Limited
 24. Cruising Excursions Transport Limited
 25. EON Partners, LLC
 26. Falls Mer, LLC
 27. Ferryboat Santa Rosa, LLC
 28. Gharian Holdings, LLC
 29. Gourd Management, LLC
 30. HBAQ Holdings, LLC
 31. HBAQ Holdings, LP
 32. HMS American Queen Steamboat Company, LLC
 33. HMS Ferries, Inc.
 34. HMS Ferries – Puerto Rico, LLC
 35. HMS Global Maritime, Inc.
 36. HMS Global Maritime, LLC
 37. HMS Vessel Holdings, LLC
 38. HMS-Alabama, Inc.
 39. HMS-Oklahoma, Inc.
 40. HMS-WestPac, Inc.
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 79 of 93




       COMPANY
 41.   HNY Ferry Fleet, LLC
 42.   HNY Ferry, LLC
 43.   HNY Ferry II, LLC
 44.   Hornblower Cable Cars, Inc.
 45.   Hornblower Canada Co.
 46.   Hornblower Canada Entertainment Limited
 47.   Hornblower Canadian Holdings, Inc.
 48.   Hornblower Consulting, LLC
 49.   Hornblower Cruise Holdings, LLC
 50.   Hornblower Cruises and Events, Inc.
 51.   Hornblower Cruises and Events, LLC
 52.   Hornblower Cruises and Events Canada Limited
 53.   Hornblower Development, LLC
 54.   Hornblower Energy, LLC
 55.   Hornblower Facility Operations, LLC
 56.   Hornblower Ferry Holdings, LLC
 57.   Hornblower Ferry Holdings II, LLC
 58.   Hornblower Fleet, LLC
 59.   Hornblower Freedom, LLC
 60.   Hornblower Group Holdco, LLC
 61.   Hornblower Group, Inc.
 62.   Hornblower Group, LLC
 63.   Hornblower Holdco, LLC
 64.   Hornblower Holdings LLC
 65.   Hornblower Holdings LP
 66.   Hornblower Hospitality Services, LLC
 67.   Hornblower India Holdings, LLC
 68.   Hornblower Metro Ferry, LLC
 69.   Hornblower Metro Fleet, LLC
 70.   Hornblower Metro Holdings, LLC
 71.   Hornblower Municipal Operations, LLC
 72.   Hornblower New York, LLC
 73.   Hornblower Shipyard, LLC
 74.   Hornblower Sub, LLC
 75.   Hornblower UK Holdings, Limited
 76.   Hornblower Yachts, LLC
 77.   JJ Audubon, LLC
 78.   Journey Beyond Holdings, LLC
 79.   Liberty Cruises, LLC
 80.   Liberty Fleet, LLC
 81.   Liberty Hospitality, LLC
 82.   Liberty Landing Ferries, LLC
 83.   Lyman Partners, LLC
Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 80 of 93




        COMPANY
 84.    Madison Union, LLC
 85.    Mission Bay Water Transit Fleet, LLC
 86.    Mission Bay Water Transit, LLC
 87.    Orane Partners, LLC
 88.    San Francisco Pier 33, LLC
 89.    SEA Operating Company, LLC
 90.    Seaward Services, Inc.
 91.    Statue Cruises, LLC
 92.    Statue of Liberty IV, LLC
 93.    Statue of Liberty V, LLC
 94.    Statue of Liberty VI, LLC
 95.    TCB Consulting, LLC
 96.    Venture Ashore, LLC
 97.    Victory Holdings I, LLC
 98.    Victory Holdings II, LLC
 99.    Victory Operating Company, LLC
 100.   Walks, LLC (Texas)
 101.   Walks, LLC (Delaware)
 102.   Walks of New York Tours, LLC
 103.   Yardarm Club (The) Limited
 104.   York River Boat Cruises Limited
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 81 of 93




                                 Exhibit B
            9TKFPMZFVMQPFN .QGWOIPV +OIPHOIPV ".INFXFTI 66-s)


COMPANY                                                AMENDING BODY
American Countess, LLC                                   EON Partners, LLC
American Duchess, LLC                                    EON Partners, LLC
American Queen HoldCo, LLC                              HBAQ Holdings, LP
                                      American Queen Sub, LLC; HMS Global
American Queen Holdings, LLC                     Maritime, Inc. (unanimous)
American Queen Steamboat Operating
Company, LLC                                 American Queen Holdings, LLC
American Queen Sub, LLC                       American Queen HoldCo, LLC
Anchor Operating System LLC                         Hornblower Group, Inc.
ASG Advisors, LLC                                  Hornblower Group, LLC
Babarusa, LLC                                      Hornblower Group, LLC
Booth Primary, LLC                                 Hornblower Group, LLC
Boston Harbor Cruises, LLC                Hornblower Cruises and Events Inc.
Choi Advisory, LLC                                 Hornblower Group, LLC
City Cruises Café, LLC                                 Liberty Cruises, LLC
Colugo Liner, LLC                                  Hornblower Group, LLC
EON Partners, LLC                            American Queen Holdings, LLC
Falls Mer, LLC                                     Hornblower Group, LLC
Gharian Holdings, LLC                              Hornblower Group, LLC
Gourd Management, LLC                              Hornblower Group, LLC
HBAQ Holdings, LLC                                Hornblower Holdings, LP
HMS American Queen Steamboat
Company, LLC                                 American Queen Holdings, LLC
HMS Global Maritime, LLC                            Hornblower Group, Inc.
HMS Vessel Holdings, LLC                        HMS Global Maritime, LLC
HNY Ferry Fleet, LLC                       Hornblower Ferry Holdings, LLC
HNY Ferry II, LLC                         Hornblower Ferry Holdings II, LLC
HNY Ferry, LLC                             Hornblower Ferry Holdings, LLC
Hornblower Consulting, LLC                      HMS Global Maritime, LLC
Hornblower Cruise Holdings, LLC                     Hornblower Group, Inc.
Hornblower Cruises and Events, LLC        Hornblower Cruises and Events Inc.
Hornblower Energy, LLC                              Hornblower Group, Inc.
Hornblower Facility Operations, LLC                 Hornblower Group, Inc.
Hornblower Ferry Holdings II, LLC               HMS Global Maritime, LLC
Hornblower Ferry Holdings, LLC                      Hornblower Group, Inc.
Hornblower Freedom, LLC                             Hornblower Group, Inc.
Hornblower Group HoldCo, LLC                           HBAQ Holdings, LP
Hornblower Group, LLC                       Hornblower Group HoldCo, LLC
  Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 82 of 93




COMPANY                                                 AMENDING BODY
                                    Choi Advisory, LLC; Madison Union LLC;
                                        Babarusa, LLC; Lyman Partners, LLC;
                                    Booth Primary, LLC; Orane Partners, LLC;
                                     Colugo Liner, LLC; ASG Advisors, LLC;
                                      Gharian Holdings, LLC; Falls Mer, LLC;
Hornblower HoldCo, LLC                 Gourd Management, LLC (unanimous)
Hornblower India Holdings, LLC                       Hornblower Group, Inc.
Hornblower Metro Ferry, LLC                 Hornblower Metro Holdings, LLC
Hornblower Metro Fleet, LLC                 Hornblower Metro Holdings, LLC
Hornblower Metro Holdings, LLC                       Hornblower Group, Inc.
Hornblower Municipal Operations,
LLC                                                    Hornblower Group, Inc.
Hornblower New York, LLC                    Hornblower Cruise Holdings, LLC
Hornblower Shipyard, LLC                               Hornblower Group, Inc.
Hornblower Sub, LLC                                 Hornblower HoldCo, LLC
Hornblower Wind, LLC                             HMS Global Maritime, LLC
JJ Audubon, LLC                                          Liberty Cruises, LLC
Journey Beyond Holdings, LLC       Journey Beyond Intermediate Holdings, LLC
Liberty Fleet, LLC                                       Liberty Cruises, LLC
Liberty Hospitality, LLC                               Hornblower Group, Inc.
Liberty Landing Ferries, LLC                             Liberty Cruises, LLC
Lyman Partners, LLC                                   Hornblower Group, LLC
Madison Union, LLC                                    Hornblower Group, LLC
Orane Partners, LLC                                   Hornblower Group, LLC
SEA Operating Company, LLC                    American Queen Holdings, LLC
Statue Cruises, LLC                                      Liberty Cruises, LLC
Statue of Liberty IV, LLC                                Liberty Cruises, LLC
Statue of Liberty V, LLC                                 Liberty Cruises, LLC
Statue of Liberty VI, LLC                                Liberty Cruises, LLC
TCB Consulting, LLC                                    Hornblower Group, Inc.
Venture Ashore, LLC                                    Hornblower Group, Inc.
Victory Holdings I, LLC                       American Queen Holdings, LLC
Victory Holdings II, LLC                      American Queen Holdings, LLC
                                         American Queen Steamboat Operating
Victory Operating Company, LLC                                 Company, LLC
Walks, LLC (Delaware)                                  Hornblower Group, Inc.
   Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 83 of 93




The Limited Liability Company Agreements of each of the entities set forth in the table
above, each as thereafter amended, be, and hereby are, amended as follows to include the
following rider:
       “Notwithstanding anything to the contrary herein or in the Act, no Member shall
       cease to be a member of the Company upon the happening to the Member of any
       of the events of bankruptcy described in Section 18-304 of the Act. The death,
       retirement, resignation, expulsion, incapacity, bankruptcy or dissolution of any or
       all Members in the Company, shall not cause a dissolution of the Company, and the
       Company shall continue in existence subject to the terms and conditions of this
       Agreement.”
   Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 84 of 93




                                       Exhibit C
          9TKFPMZFVMQPFN .QGWOIPV +OIPHOIPV ".INFXFTI :FTVPITULMRs)

 COMPANY                                                        AMENDING BODY
 HBAQ Holdings, LP                                              HBAQ Holdings, LLC
                                                     Hornblower Holdings, LLC (GP);
 Hornblower Holdings, LP                             Crestview HB Holdings, L.P. (LP)


       The Limited Partnership Agreements of each of the entities set forth in the table
above, each as thereafter amended, be, and hereby are, amended as follows to include the
following rider:
       “No partner may withdraw from the Partnership except pursuant to an amendment
       to this Agreement.

       The occurrence of any action specified in section 17-402(a)(4)(a)-(f) of the Act
       (each, an “Event of Bankruptcy”) shall not constitute an event of withdrawal under
       section 17-402 of the Act or otherwise cause a General Partner to cease to be a
       general partner of the Partnership.

       An Event of Bankruptcy of any Limited Partner shall not cause such Limited
       Partner to withdraw from the Partnership or cease to be a limited partner of the
       Partnership.

       The bankruptcy, dissolution or withdrawal of a partner shall not in and of itself
       dissolve or terminate the Partnership.”
   Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 85 of 93




                                       Exhibit D

              9TKFPMZFVMQPFN .QGWOIPV +OIPHOIPV "-FNMJQTPMF 66-s)

 COMPANY                                                         AMENDING BODY
 Alcatraz Cruises, LLC                                          Hornblower Group, Inc.
 Alcatraz Fleet, LLC                                            Hornblower Group, Inc.
 Alcatraz Freedom, LLC                                            Liberty Cruises, LLC
 Alcatraz Island Services, LLC                                  Hornblower Group, Inc.
 Bay State, LLC                                                   Liberty Cruises, LLC
 Ferryboat Santa Rosa, LLC                                      Hornblower Group, Inc.
 Hornblower Development, LLC                                    Hornblower Group, Inc.
 Hornblower Fleet, LLC                                          Hornblower Group, Inc.
 Hornblower Hospitality Services, LLC                           Hornblower Group, Inc.
 Hornblower Yachts LLC                                          Hornblower Group, Inc.
 Mission Bay Water Transit Fleet, LLC                           Hornblower Group, Inc.
 Mission Bay Water Transit, LLC                                 Hornblower Group, Inc.
 San Francisco Pier 33, LLC                                     Hornblower Group, Inc.


        The Limited Liability Company Agreements of each of the entities set forth in the
table above, each as thereafter amended, be, and hereby are, amended as follows to include
the following rider:
       “Notwithstanding anything to the contrary herein, the Beverly-Killea Limited
       Liability Company Act, or the California Revised Uniform Limited Liability
       Company Act, no Member shall cease to be a member of the Company upon the
       happening to a Member of an event of bankruptcy or dissolution. The death,
       retirement, resignation, expulsion, incapacity, bankruptcy or dissolution of any or
       all Members in the Company, shall not cause a dissolution of the Company, and the
       Company shall continue in existence subject to the terms and conditions of this
       Agreement.”
   Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 86 of 93




                                   Exhibit E
             9TKFPMZFVMQPFN .QGWOIPV +OIPHOIPV "Puerto Rico LLCs)


 COMPANY                                                        AMENDING BODY
 City Ferry Transportation Services, LLC                    HMS Global Maritime, LLC
 HMS Ferries-Puerto Rico, LLC                                       HMS Ferries, Inc.
        Section 15.01 of the Limited Liability Company Agreements of each of the entities
set forth in the table above, each as thereafter amended, be, and hereby are, amended as
follows:
       “15.01 Dissolution

       (a) The existence of the Company shall be perpetual; provided, however, that it
           shall dissolve upon the occurrence of any event described in the section
           15.01(b) herein, and no other circumstance.

       (b) The Company shall dissolve, and its affairs shall be wound up, upon the first to
           occur of the following:

           (i)    the affirmative vote or written consent of the Members holding a
                  majority of the Units then outstanding; or

           (ii)   the entry of a decree of judicial dissolution under the Act.

       (c) Notwithstanding anything to the contrary herein or in the Act, no Member shall
           cease to be a member of the Company upon the happening to the Member of
           any event of bankruptcy. The death, retirement, resignation, expulsion,
           incapacity, bankruptcy or dissolution of any or all Members in the Company,
           shall not cause a dissolution of the Company, and the Company shall continue
           in existence subject to the terms and conditions of this Agreement.”
   Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 87 of 93




                                    Exhibit F
                9TKFPMZFVMQPFN .QGWOIPV +OIPHOIPV "Texas LLCs)


 COMPANY                                                        AMENDING BODY
 Walks, LLC (Texas)                                            Walks, LLC (Delaware)
        Section 17 of the Limited Liability Company Agreement of the entity set forth in
the table above, as thereafter amended, be, and hereby is, amended as follows:
       “17. Dissolution

       The Company shall be dissolved and its affairs shall be wound up only upon a
       decision to dissolve the Company made at any time by the Sole Member.

       Notwithstanding anything to the contrary herein or in the Code, no Member shall
       cease to be a member of the Company upon the happening to the Member of any
       event of bankruptcy. The death, retirement, resignation, expulsion, incapacity,
       bankruptcy or dissolution of any or all Members in the Company, shall not cause
       a dissolution of the Company, and the Company shall continue in existence
       subject to the terms and conditions of this Agreement.”
                           Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 88 of 93


      Fill in this information to identify the case:

      Debtor name Hornblower Holdings LLC
      United States Bankruptcy Court for the: Southern                                        District of Texas                                            #     Check if this is an
                                                                                                         (State)
                                                                                                                                                                 amended filing
      Case number (if known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                   12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete                Name, telephone number, and                Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code          email address of creditor                  (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                                    debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                             government
                                                                                             contracts)
                                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                                   partially          value of            claim
                                                                                                                                   secured            collateral or
                                                                                                                                                      setoff
      "SEATRAN MARINE, LLC107 HWY 90             "ATTN: CHARLES TIZZARDTITLE: CHIEF
1     WESTNEW IBERIA, LA 70560UNITED STATES"     FINANCIAL OFFICERPHONE: (985) 631-9004      Trade Payable                                                               $3,995,938
                                                 EMAIL: CTIZZARD@SEATRANMARINE.COM"



      "PLEASANT HOLIDAYS2404 TOWNSGATE           "ATTN: DAL DEWOLFTITLE: CHIEF FINANCIAL
2     ROADWESTLAKE VILLAGE, CA 91361UNITED       OFFICERPHONE: (818) 991-3390EMAIL:          Trade Payable                                                               $943,671
      STATES"                                    DAL.DEWOLF@PLEASANT.NET"




      "EASTON COACH COMPANY1200 CONROY           "ATTN: JOE SCOTTTITLE: CHIEF EXECUTIVE
3     PLACEEASTON, PA 18040UNITED STATES"        OFFICERPHONE: (610) 253-4055EMAIL:          Trade Payable                                                               $804,812
                                                 JSCOTT@EASTONCOACH.COM"




4     "INTERCRUISES SHORESIDE AND PORT           "ATTN: OLGA PIQUERASTITLE: MANAGING
      SERVICES CANADACARRER DE LA DIPUTACIÓ,     DIRECTORPHONE: +34 93 297 2900EMAIL:        Trade Payable                                                               $792,329
      238CATALONIABARCELONA, 0 08007SPAIN"       O.PIQUERAS@INTERCRUISES.COM"



      "U S POSTAL SERVICE475 L'ENFANT PLZ        "ATTN: LOUIS DEJOYTITLE: CHIEF
5     SWWASHINGTON, DC 20260UNITED STATES"       EXECUTIVE OFFICERPHONE: (703)               Trade Payable                                                               $743,750
                                                 237-1848EMAIL: LOUIS.DEJOY@USPS.GOV"



      "BAY SHIP & YACHT CO.2900 MAIN STREET      "ATTN: JOEL WELTERTITLE: CHIEF EXECUTIVE
6                                                OFFICERPHONE: (510) 337-9122EMAIL:          Trade Payable                                                               $693,852
      #2100ALAMEDA, CA 94501UNITED STATES"
                                                 ENGINEERING@BAY-SHIP.COM"




      "VACATIONS TO GO5851 SAN FELIPE ST.SUITE   "ATTN: EMERSON KIRKSEY HANKAMERTITLE:
7     500HOUSTON, TX 77057UNITED STATES"         CHIEF EXECUTIVE OFFICERPHONE: (800)         Trade Payable                                                               $570,399
                                                 338-4962EMAIL: EHANKAMER@GMAIL.COM"




      "PORT OF SAN DIEGO3165 PACIFIC             "ATTN: RANDA CONIGLIOTITLE: PRESIDENT AND
8     HIGHWAYSAN DIEGO, CA 92101UNITED           CHIEF EXECUTIVE OFFICERPHONE: (619)         Trade Payable                                                               $480,288
                                                 686-6200EMAIL:
      STATES"                                    RCONIGLIO@PORTOFSANDIEGO.ORG"




      "MITTERA GROUP1312 LOCUST ST. STE.         "ATTN: JON TROENTITLE: CHIEF EXECUTIVE
9     202DES MOINES, IA 50309UNITED STATES"      OFFICERPHONE: (515) 343-5359EMAIL:          Trade Payable                                                               $451,520
                                                 JON.TROEN@MITTERA.COM"



                                                 "ATTN: MELANIE WHEELERTITLE:
10 "HARBOR FUELS256 MARGINAL                     MANAGERPHONE: (617) 720-3835EMAIL:          Trade Payable                                                               $436,939
      STBOSTON, MA 02128UNITED STATES"
                                                 MWHEELER@HARBORFUELS.COM"




    Official Form                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                    page 1
                            Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 89 of 93
     Debtor          Hornblower Holdings LLC                                                                          Case number (if known )
                     Name




     Name of creditor and complete                Name, telephone number, and                   Nature of the claim    Indicate if      Amount of unsecured claim
     mailing address, including zip code          email address of creditor                     (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                                  contact                                       debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                                                professional           unliquidated,    total claim amount and deduction for value of
                                                                                                services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                                                government
                                                                                                contracts)
                                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                                        partially          value of            claim
                                                                                                                                        secured            collateral or
                                                                                                                                                           setoff
      "AMERICAN EXPRESS200 VESEY STREETNEW       "ATTN: STEVE SQUERITITLE: CHIEF EXECUTIVE
11    YORK, NY 10285UNITED STATES"               OFFICERPHONE: (212) 640-2000EMAIL:             Trade Payable                                                                 $400,165
                                                 STEPHEN.SQUERI@AEXP.COM"




                                                 "ATTN: STEVE FREDETTETITLE:
12 "TOAST INC.401 PARK DRIVEBOSTON,              PRESIDENTPHONE: (617) 297-1005EMAIL:           Trade Payable                                                                 $374,822
      MA 02115UNITED STATES"
                                                 SFREDETTE@TOASTTAB.COM"



      "NORTH RIVER SHIPYARD1 VAN HOUTEN          "ATTN: KEN GRAEFETITLE: OWNERPHONE: (845)
13    ST.!
        NYACK, NY 10960UNITED STATES"
                                                 358-2100EMAIL:
                                                 SERVICE@NORTHRIVERSHIPYARD.COMFAX: (845)
                                                                                                Trade Payable                                                                 $366,354
                                                 358-2105"




      "UNIVERSITY OF GEORGIA104 CALDWELL         "ATTN: RYAN NESBITTITLE: VP OF
14    HALLATHENS, GA 30602-6113UNITED STATES"    FINANCEPHONE: 706-542-1361EMAIL:               Trade Payable                                                                 $355,940
                                                 OVPFA@UGA.EDU"



      "CRUISE LINE AGENCIES OF ALASKA SE,        "ATTN: DREW GREENTITLE: PORT
15    INC.55 SCHOENBAR COURT, SUITE              MANAGERPHONE: (907) 562-6889EMAIL:             Trade Payable                                                                 $339,614
      101KETCHIKAN, AK 99901UNITED STATES"       ANDREWG@CLAALASKA.COM"


      "SUN STONE SHIPS, INC4770 BISCAYNE         "ATTN: ULRIK HEGELUNDTITLE: CHIEF FINANCIAL
16    BOULEVARD, PHBMIAMI, FL 33137UNITED        OFFICERPHONE: (305) 400-8055EMAIL:
                                                 UHEGELUND@SUNSTONESHIPS.COM"
                                                                                                Trade Payable                                                                 $334,143
      STATES"



      "FMC GLOBALSAT, INC1200 E LAS OLAS BLVD    "ATTN: EMMANUEL COTRELTITLE: CHIEF
17    SUITE 302FORT LAUDERDALE, FLORIDA          EXECUTIVE OFFICERPHONE: (954) 678-0697EMAIL:
                                                 ECOTREL@FMCGLOBALSAT.COM"
                                                                                                Trade Payable                                                                 $331,258
      33315UNITED STATES"



      "RIVERVIEW TUG SERVICE960 N RIVERVIEW      "ATTN: JEREMY PUTMANTITLE:
18    STBELLEVUE, IA 52031UNITED STATES"         OWNERPHONE: (563) 872-3456EMAIL:               Trade Payable                                                                 $328,040
                                                 JEREMY@RIVERVIEWBOATSTORE.COM"



      "MARINE AND INDUSTRIAL SOLUTIONS5759 NW "ATTN: DAN MACRITITLE: CHIEF EXECUTIVE
19    ZENITH DRIVEPORT ST LUCIE, FL           OFFICERPHONE: (772) 418-3999EMAIL:                Trade Payable                                                                 $278,390
      34986-3529UNITED STATES"                DAN@MARINEINDUSTRIALSOLUTIONS.COM"



      "THAMES MARINE ENGINEERING LTD9-10         "ATTN: NICHOLAS DWANTITLE:
20    COPPER ROWLONDON, 0 SE1 2LHUNITED          DIRECTORPHONE: 07801 822644EMAIL:              Trade Payable                                                                 $277,669
      KINGDOM"                                   NICHOLAS@TMSL.LONDON"



      "GURUCUL SOLUTIONS, LLC.222 N. PACIFIC  "ATTN: SARYU NAYYARTITLE: CHIEF
21    COAST HIGHWAY, SUITE 1310EL SEGUNDO, CA EXECUTIVE OFFICERPHONE: (213)                     Trade Payable                                                                 $249,442
      90245UNITED STATES"                     259-8472EMAIL: SARYU@GURUCUL.COM"



      "PEABODY MEMPHIS5118 PARK AVENUE,          "ATTN: MARTY BELZTITLE:
22    SUITE 245MEMPHIS, TN 38117UNITED STATES"   OWNERPHONE: (901) 762-5466EMAIL:               Trade Payable                                                                 $244,570
                                                 PHG.INFO@BELZ.COM"



      "PRAGMARS, LLC.101 DECKER CT STE           "ATTN: CARI DOMINGUEZTITLE:
23    100IRVING, TX 75062-2211UNITED STATES"     OWNERPHONE: (214) 559-8966EMAIL:               Trade Payable                                                                 $241,549
                                                 CADOLI@CADOLIMULTISERVICES.COM"



      "ELEVATION AFRICA DESTINATIONS29 PINE      "ATTN: FAITH MUSEKIWATITLE:
24    ROAD, SUITE NO: 37, GAUTENGJOHANNESBURG,   OWNERPHONE: +27 10 541 0065EMAIL:              Trade Payable                                                                 $227,837
      2055SOUTH AFRICA"                          RES1@EADESTINATIONS.COM"



      "TRAVEL LEADERS NETWORK3033 CAMPUS         "ATTN: J.D O'HARATITLE: CHIEF EXECUTIVE
25    DRIVE, SUITE W32PLYMOUTH, MN               OFFICERPHONE: (800) 330-8515EMAIL:             Trade Payable                                                                 $222,293
      55441UNITED STATES"                        JOHARA@INTERNOVA.COM"




     Official Form                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                          page 2
                            Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 90 of 93
     Debtor          Hornblower Holdings LLC                                                                        Case number (if known )
                     Name




     Name of creditor and complete            Name, telephone number, and                     Nature of the claim    Indicate if      Amount of unsecured claim
     mailing address, including zip code      email address of creditor                       (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                              contact                                         debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                                              professional           unliquidated,    total claim amount and deduction for value of
                                                                                              services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                                              government
                                                                                              contracts)
                                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                                      partially          value of            claim
                                                                                                                                      secured            collateral or
                                                                                                                                                         setoff
      "BNA MARINE SERVICES1022 JACKSON       "ATTN: JACOB BREAUXTITLE: CHIEF EXECUTIVE
26                                           OFFICERPHONE: (985) 384-2840EMAIL:               Trade Payable                                                                 $200,941
      ROADAMELIA, LA 70340UNITED STATES"     JAKE.BREAUX@BNAMARINE.COM"




      "TROVE PROFESSIONAL SERVICES2081       "ATTN: KEVIN MCCLURETITLE:
27    CENTER ST.BERKELEY, CA 94704UNITED     FOUNDERPHONE: (888) 638-4614EMAIL:               Trade Payable                                                                 $198,737
      STATES"                                KEVIN@TROVESERVICES.COM"



      "BLANCHARD MACHINERY COMPANY3151       "ATTN: DALYS JOHNSONTITLE: CHIEF FINANCIAL
28    CHARLESTON HWYWEST COLUMBIA, SC        OFFICERPHONE: (844) 236-2615EMAIL:
                                             DJOHNSON@BLANCHARDMACHINERY.COM"
                                                                                              Trade Payable                                                                 $190,110
      29172UNITED STATES"



      "MCKINSEY & COMPANY, INC.THREE WORLD   "ATTN: SHELLEY STEWARTTITLE: SENIOR
29    TRADE CENTER, 175 GREENWICH STNEW      PARTNERPHONE: (212) 446-7000EMAIL:               Trade Payable Contingent,
      YORK, NY 10007UNITED STATES"           SHELLEY_STEWART@MCKINSEY.COM"                                           Unliquidated                                           Undetermined

      "CLYVE SHAW & KENARDRO PRESSC/O        "ATTN: BRANDON M. SWEENEYTITLE: COUNSELPHONE:
30                                                                                                                   Contingent,
      WORKING SOLUTIONS80 BROAD STREET,
      SUITE 703NEW YORK, NY 10004"
                                             (201) 879-6986EMAIL:
                                             BSWEENEY@WORKINGSOLUTIONSNYC.COM- AND - ATTN:
                                             CHRISTOPHER Q. DAVISTITLE: COUNSELPHONE: (646)
                                                                                              Litigation             Unliquidated,                                          Undetermined
                                             430-7931EMAIL: CDAVIS@WORKINGSOLUTIONSNYC.COM"                          Disputed




     Official Form                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                         page 3
                      Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 91 of 93

 Fill in this information to identify the case and this filing:


             Hornblower Holdings LLC
 Debtor Name __________________________________________________________________

                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         " Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         " Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         " Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         " Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         " Schedule H: Codebtors (Official Form 206H)
         " Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         " Amended Schedule ____

         " Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         " Other document that requires a
                                        Consolidated Corporate Ownership Statement and List of Equity Interest Holders
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.
                                                                " /s/ Jonathan Hickman
                                                                    _________________________________________________________________________
                     02/21/2024
        Executed on ______________                                   Signature of individual signing on behalf of debtor

                           MM / DD / YYYY



                                                                  Jonathan Hickman
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
       Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 92 of 93




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                               )
     In re:                                                    ) Chapter 11
                                                               )
     Hornblower Holdings LLC                                   ) Case No. 23-(            )(   )
                                                               )
                             Debtor.                           )
                                                               )

                          LIST OF EQUITY SECURITY HOLDERS

              Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

    debtor respectfully represents that the below chart identifies the holders of the debtor’s sole

    class of equity interests and sets forth the nature and percentage of such interests held as of

    the filing of the debtor’s chapter 11 petition:


                                                                           Mailing Address of
Interest Holder                    Class/Percentage of Interest Held
                                                                           Interest Holder
                                                                           667 Madison Avenue, 10th
Crestview HB Holdings, L.P.                      55.26%                    Floor, New York NY
                                                                           10065
                                                                           667 Madison Avenue, 10th
Crestview IV HB Holdings,
                                                 26.37%                    Floor, New York NY
L.P.
                                                                           10065
                                                                           115 E Market St., New
Bon Voyage Holdings, LLC                         15.65%
                                                                           Albany, IN 47158
The John Waggoner Family                                                   2525 N. Pearl Street Unit
                                                  2.71%
Trust u/t/d August 27, 2015                                                1307, Dallas, TX 75201
   Case 24-90061 Document 1 Filed in TXSB on 02/21/24 Page 93 of 93




                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

                                                         )
 In re:                                                  ) Chapter 11
                                                         )
 Hornblower Holdings LLC                                 ) Case No. 23-(          )(      )
                                                         )
                        Debtor.                          )
                                                         )

                     CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following list identifies corporations that own 10% or more of the debtor’s

equity interests as of the filing of the debtor’s chapter 11 petition::


 Interest Holder                                           Class/Percentage of Interest


 Crestview HB Holdings, L.P.                                         55.26%


 Crestview IV HB Holdings L.P.                                       26.37%


 Bon Voyage Holdings, LLC                                            15.65%
